                                         Case 1:17-bk-12408-MB             Doc 621 Filed 12/04/19 Entered 12/04/19 22:30:30               Desc
                                                                            Main Document     Page 1 of 6


                                           1   SAMUEL R. MAIZEL (SBN 189301)
                                               samuel.maizel@dentons.com
                                           2   TANIA M. MOYRON (SBN 235736)
                                               tania.moyron@dentons.com
                                           3   NICHOLAS A. KOFFROTH (SBN 287854)
                                               nicholas.koffroth@dentons.com
                                           4   DENTONS US LLP
                                               601 South Figueroa Street, Suite 2500
                                           5   Los Angeles, California 90017-5704
                                               Telephone: (213) 623-9300; Facsimile: (213) 623-9924
                                           6
                                               Attorneys for Matthew Pliskin, as Trustee, and
                                           7   The Trust Board

                                           8
                                                                              UNITED STATES BANKRUPTCY COURT
                                           9                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                               (SAN FERNANDO VALLEY DIVISION)
                                          10
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11   In re:                                                       Lead Case No.: 1:17-bk-12408-MB
                                                                                                            Jointly administered with:
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                                          12   ICPW Liquidation Corporation, a California                   1:17-bk-12409-MB Chapter 11 Cases
            (213) 623-9300




                                               corporation,1
                                          13                 Debtor and Debtor in Possession. POST-CONFIRMATION STATUS
                                                                                              REPORT
                                          14
                                               In re:                                          HEARING:
                                          15                                                   DATE:    December 12, 2019
                                               ICPW Liquidation Corporation, a Nevada          TIME:    2:30 p.m.
                                                            2
                                          16   corporation,                                    PLACE:   Courtroom “303”
                                                              Debtor and Debtor in Possession.          21041  Burbank Boulevard
                                          17                                                            Woodland Hills, California 91367

                                          18        Affects:
                                          19          Both Debtors
                                          20         ICPW Liquidation Corporation, a California
                                                     corporation
                                          21
                                                     ICPW Liquidation Corporation, a Nevada
                                          22         corporation
                                          23

                                          24
                                               TO THE HONORABLE MARTIN R. BARASH, UNITED STATES BANKRUPTCY
                                          25
                                               JUDGE:
                                          26

                                          27

                                          28   1
                                                   Formerly known as Ironclad Performance Wear Corporation, a California corporation.
                                               2
                                                   Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.

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                                         Case 1:17-bk-12408-MB           Doc 621 Filed 12/04/19 Entered 12/04/19 22:30:30             Desc
                                                                          Main Document     Page 2 of 6


                                           1           Matthew Pliskin, the trustee (the “Trustee”), under the trust (the “Trust”) created pursuant

                                           2   to the Debtors and Official Committee of Equity Security Holders Joint Plan of Liquidation Dated

                                           3   February 9, 2018 (the “Plan”) [Docket No. 438], and that certain trust agreement dated as of

                                           4   February 28, 2018 (the “Trust Agreement”), entered into by and among the Trustee, ICPW

                                           5   Liquidation Corporation, a California corporation, formerly known as Ironclad Performance Wear

                                           6   Corporation, a California corporation, and ICPW Liquidation Corporation, a Nevada corporation

                                           7   (“ICPW Nevada”), formerly known as Ironclad Performance Wear Corporation, a Nevada

                                           8   corporation, hereby respectfully submits this Post-Confirmation Status Report, pursuant to Rule

                                           9   3020-1(b) of the Local Bankruptcy Rules of the United States Bankruptcy Court for the Central

                                          10   District of California.
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                                          11           The Plan is a liquidating plan confirmed by entry of an order by this Court on February
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                                          12   13, 2018 (the “Confirmation Order”). [Docket No. 442].
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                                          13           Listing of Claims & Interests and Payments Under the Plan

                                          14      Class          Creditor(s)                     Claim                 Plan Payment to Date
                                                  Class 1        General Unsecured Claims        $354,727.26__         See Below
                                          15      Class 2        Class of Shareholders           See Below             See Below
                                                  Class 3        Secured Claims                  Disputed              Reserve
                                          16      Class 4        Priority Unsecured Claims       Disputed              Reserve
                                          17           Class 1
                                          18           Class 1 consists of general unsecured claims. As indicated in the Plan, prior to the Plan,
                                          19   all non-disputed general unsecured claims were paid by the Debtors with post-petition interest in
                                          20   accordance with prior orders of the Court and the Order Granting Debtors’ Motion For Authority
                                          21   To Pay Undisputed Pre-Petition Claims Of Solvent Estate And Establishing Protocol. [Docket
                                          22   No. 345].
                                          23           On May 29, 2018, the Trustee filed the Notice of Objection and Objection to Claims in
                                          24   Accordance with Debtors and Official Committee of Equity Security Holders Joint Plan of
                                          25   Liquidation Dated February 9, 2018 (the “Objection”). [Docket No. 582]. The Objection
                                          26   provides that (i) the Trustee disputes the validity and amount of the seven claims listed therein
                                          27   (the “Claimants”) and the enforceability of the claims (the “Claims”) against the estates, (ii) the
                                          28   Trustee anticipates that any litigation against the Claimants will be commenced in another forum,

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                                               US_Active\113783672\V-1
                                         Case 1:17-bk-12408-MB           Doc 621 Filed 12/04/19 Entered 12/04/19 22:30:30            Desc
                                                                          Main Document     Page 3 of 6


                                           1   and (iii) requests disallowance of the Claims after an order is obtained in a different forum. The

                                           2   Trustee filed the Objection in accordance with the Plan and to provide the Claimants with notice

                                           3   that the Trustee disputed the Claims and, thus, no distribution has been made on the Claims.

                                           4           Class 2

                                           5           Class 2 consists of the Beneficial Interest Holders (as defined below), who were the equity

                                           6   holders of ICPW Nevada as of the Record Date (i.e., February 12, 2018). Pursuant to the Plan, on

                                           7   February 28, 2018 (the “Effective Date”), the Trust was created and all of the outstanding shares

                                           8   of common stock of ICPW Nevada (the “Common Stock”) existing on the Effective Date were

                                           9   cancelled, and the record holders who owned shares of Common Stock on the Record Date

                                          10   became holders of non-transferable beneficial interests in the Trust in exchange for those shares
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                                          11   (“Beneficial Interest Holders”). [Docket No. 438]. The Trust was created for the exclusive benefit
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                                          12   of Beneficial Interest Holders, net of claims and expenses payable under the express terms of the
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                                          13   Trust. Id.

                                          14           In June 2018, the Trustee sent a letter to Beneficial Interest Holders informing them of an

                                          15   interim distribution to them in the amount of $7,243,994 (representing $0.0835/share based upon

                                          16   86,754,428 total outstanding shares). In August 2019, the Trustee sent another letter to Beneficial

                                          17   Interest Holders informing them of an interim distribution to them in the amount of $1,698,095.

                                          18   Both distributions were made to Beneficial Interest Holders.

                                          19           Class 3

                                          20           Class 3 consists of the contingent and disputed claim of Radians Wareham Holdings, Inc.

                                          21   (“Radians”). Pursuant to paragraph 26 in the Confirmation Order, on March 12, 2018, the Trustee

                                          22   filed the Motion to Estimate Claim of Radians Wareham Holding, Inc. for Reimbursement of

                                          23   Legal Fees Pursuant to 11 U.S.C. § 502(c) [Docket No. 473] (the “Estimation Motion”) for

                                          24   purposes of establishing the Class 3 Reserve Fund (as defined in the Confirmation Order). At the

                                          25   hearing on the Estimation Motion, the Trustee and Radians agreed the that the Class 3 Reserve

                                          26   Fund should be $2,300,000 (the “Agreed Class 3 Reserve Fund”), which is reflected in Order

                                          27   Granting In Part Motion To Estimate Claim Of Radians Wareham Holding, Inc. For

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                                               US_Active\113783672\V-1
                                         Case 1:17-bk-12408-MB           Doc 621 Filed 12/04/19 Entered 12/04/19 22:30:30             Desc
                                                                          Main Document     Page 4 of 6


                                           1   Reimbursement Of Legal Fees Pursuant To 11 U.S.C. § 502(c). [Docket No. 555]. The Trustee

                                           2   is holding the Agreed Class 3 Reserve Fund in a segregated trust account.

                                           3           Class 4

                                           4           Class 4 consists of priority claims, pursuant to 11 U.S.C. §§ 507(a)(3), (4), (5), (6), and

                                           5   (7). The only non-tax priority claims referenced in the Plan are the two priority wage claims in

                                           6   the amount of $12,850 (the “Cordes and Aisenberg Priority Claims”) filed by Cordes and

                                           7   Aisenberg (the “Former Officers”). Prior to filing the Plan, the Official Committee of Equity

                                           8   Security Holders had filed a complaint against the Former Officers that (i) objected to the claims

                                           9   asserted by the Former Officers in their proofs of claims, and (ii) set forth the claims against the

                                          10   Former Officers seeking damages for pre-petition harm arising from their conduct. [Adv. Proc.
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                                          11   No.: 1:18-ap-01011]
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                                          12           The Plan classified the disputed claims of the Former Officers as part of Class 4. The Plan
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                                          13   provided that total sum of $300,000.00 (the “Class 4 Reserve Fund”) would be retained in a

                                          14   segregated trust account, which would be used to pay the Cordes and Aisenberg Priority Claims

                                          15   to the extent allowed by the Court, plus any indemnification claims of the Former Officers to the

                                          16   extent allowed by the Court and not otherwise satisfied by the Debtors’ D&O Insurance. The

                                          17   Former Officers filed an objection to the Plan, which sought a larger reserve. [Docket No. 425].

                                          18           Pursuant to paragraph 26 in the Confirmation Order, the Trustee filed a motion to estimate

                                          19   the disputed claims of the Former Officers for purposes of establishing the Class 4 Reserve Fund.

                                          20   [Docket No. 474]. After briefing and prior to the hearing, the Trustee and the Former Officers

                                          21   reached an agreement, which resulted in the Order Approving Stipulation On Motion To Estimate

                                          22   Claims Nos. 7 And 8 Filed By Jeffrey Cordes And William Aisenberg Pursuant To 11 U.S.C. §

                                          23   502(c) [Docket No. 553] establishing a reserve in the amount of $546,313.50 in accordance with

                                          24   the Plan.

                                          25           On August 2, 2019, the Trustee filed the Stipulation of Settlement [Docket No. 615] (the

                                          26   “Stipulation”) that explained the Trust and the Former Officers reached a settlement in their

                                          27   arbitration proceeding (the “Settlement”). Pursuant to the Stipulation and Settlement, the parties

                                          28   agreed that the Trustee was no longer obligated to hold the Class 4 Reserve Fund in a segregated


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                                               US_Active\113783672\V-1
                                         Case 1:17-bk-12408-MB           Doc 621 Filed 12/04/19 Entered 12/04/19 22:30:30               Desc
                                                                          Main Document     Page 5 of 6


                                           1   trust account. On August 2, 2019, the Court entered an order approving the Stipulation [Docket

                                           2   No. 616].

                                           3           Post-Confirmation Taxes

                                           4           The Trustee paid $141,597.38 in actual and estimated taxes for the tax years 2016 and

                                           5   2017. The Trustee has been advised that the Trust does not owe taxes for 2018.

                                           6           Projections

                                           7           The Plan provided that it was being funded from various sources (e.g., remaining estate

                                           8   funds from the sale proceeds, funds in the operating account, monetary recoveries to be obtained

                                           9   by the Trust postpetition, etc.) and not cash derived from the operation of any business by the

                                          10   Debtor.
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                                          11           As of September 30, 2019, there have been disbursements in the amount of approximately
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                                          12   $12,662,548. Currently, the Trust has approximately $4,196,787, on hand. The Trustee believes
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                                          13   that the Trust is current on his payments to the United States Trustee (the “UST”) for quarterly

                                          14   fees. The Trustee notes that the UST has not cashed the two checks he sent to the UST, dated

                                          15   October 31, 2019.

                                          16           Plan Consummation and Final Decree

                                          17           While the Trustee has made interim distributions, the Trustee anticipates at least one other

                                          18   distribution. There is also litigation that continues to be pursued against third parties, as set forth

                                          19   below. Given the uncertainty related to the timing of the completion of litigation, the Trustee

                                          20   respectfully submits that it would be premature at this time to predict the timing of a motion for

                                          21   final decree.

                                          22           Other Pertinent Information Needed To Explain The Progress Toward Completion

                                          23   Of The Confirmed Plan

                                          24           The Plan provides that the Trustee will, among other things, investigate and, if

                                          25   appropriate, pursue all claims and causes of action that belong to the Estates and are assigned to

                                          26   the Trust for the benefit of the Beneficial Interest Holders. [Docket No. 438]. Since the

                                          27   Confirmation Order, the Trustee has analyzed and pursued certain claims and causes of action, as

                                          28   follows:


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                                               US_Active\113783672\V-1
                                         Case 1:17-bk-12408-MB           Doc 621 Filed 12/04/19 Entered 12/04/19 22:30:30               Desc
                                                                          Main Document     Page 6 of 6


                                           1                   On April 25, 2018, the Trustee commenced an arbitration proceeding against

                                           2                    Thomas Felton, the former Senior Vice President of Supply Chain (the “Felton

                                           3                    Arbitration”). In connection with the Former Officers, after extensive briefing and

                                           4                    a mediation that did not result in settlement, on July 31, 2018, the Court entered an

                                           5                    order granting the Trustee’s motion to compel arbitration against the Former

                                           6                    Officers. [Adv. Proc. No.: 1:18-ap-01011, Docket No. 52].              The Trustee

                                           7                    commenced an arbitration that was ultimately consolidated with the Felton

                                           8                    Arbitration (the “Consolidated Arbitration”). The Consolidated Arbitration has

                                           9                    now been settled in the amount of $2,400,000.

                                          10                   The Trustee filed a complaint against Robert Goldstein and his company for aiding
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                                          11                    and abetting breach of fiduciary duty in the United States District Court for the
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                                          12                    Central District of California, 2:18-cv-09491-FMO-AS, which transferred to the
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                                          13                    Northern District of Texas. The parties settled the action for a nominal amount.

                                          14                   On April 26, 2019, the Trustee filed an amended complaint (the “Amended

                                          15                    Complaint”) against Radians. On September 26, 2019, the Court held a hearing on

                                          16                    Radians’ motion to dismiss on the Trustee’s Amended Complaint, which the Court

                                          17                    continued to December 12, 2019. On November 1, 2019, the Trustee filed the

                                          18                    Motion for Mediation Under Court's Mediation Program [Adv. Proc. Docket No.

                                          19                    70], and Radians filed its opposition thereto [Adv. Proc. Docket No. 71].

                                          20                   The Trustee commenced an arbitration against BDO. The foregoing arbitration

                                          21                    proceeding is in the discovery phase and going to trial in June.

                                          22   Dated: December 4, 2019                     DENTONS US LLP
                                                                                           SAMUEL R. MAIZEL
                                          23
                                                                                           TANIA M. MOYRON
                                          24                                               NICHOLAS A. KOFFROTH

                                          25                                               By: /s/Tania M. Moyron
                                                                                           Tania M. Moyron, Counsel
                                          26                                               to the Trustee and Trust Board
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